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                                    1673
                                         EXHIBIT 10




 From: Darrell Herald <dah41339@yahoo.com>
 Date: January 18, 2024 at 9:46:22 AM EST
 Subject: Re: Deposition Rescheduling-Baker et al
 To: Pack, Ashley <ashley.pack@dinsmore.com>

 We can make February 7 or 8 work for the remaining depos.

        On Jan 17, 2024, at 1:24 PM, Pack, Ashley <ashley.pack@dinsmore.com> wrote:

        Here are the notices for the depositions already scheduled for the 6 th. Do you have any
        other dates available?

        From: Ned Pillersdorf <pillersn@gmail.com>
        Sent: Wednesday, January 17, 2024 1:15 PM
        To: Pack, Ashley <ashley.pack@dinsmore.com>
        Cc: Darrell Herald <dah41339@yahoo.com>
        Subject: Re: Deposition Rescheduling-Baker et al

        Could you do February 6th? Ned

        On Wed, Jan 17, 2024, 1:08 PM Pack, Ashley <ashley.pack@dinsmore.com>
        wrote:
         Ned:

         We would like to reschedule the depositions of Dillo Neace, Harold Ray White,
         Amy Dryden, and Bruce Dryden for February 7th or 8th:

                  9:00 a.m. Dillo Neace
                  11:00 a.m. Harold Ray White
                 1:30 p.m. Amy Dryden
                 3:30 p.m. Bruce Dryden

         This will be the fourth time we have scheduled these depositions. The Plaintiffs
         did not appear on the dates we initially noticed (October 25 and October 31,
         respectively), and you requested that we postpone again after we noticed them a
                                                    1
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         second time for December 5. While we are mindful of the weather and other
         circumstances, we are approaching the close of discovery and need to get their
         depositions completed.

        We reserve all rights with respect to these Plaintiffs’ discovery compliance.

        Thanks.

        Ashley



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        and notify the sender by reply e-mail, so that our address record can be
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       <DN 120 - Notice to Take Depositions.pdf>




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                                         1675



From:                           Ned Pillersdorf <pillersn@gmail.com>
Sent:                           Monday, January 15, 2024 1:32 PM
To:                             Pack, Ashley
Cc:                             Darrell Herald; Johnson, Kristeena; McClure, Mac; Morgan, Grahmn
Subject:                        Re: FW: Baker, et al v. Blackhawk, et al



Ashley- have not heard from Darrell- but the weather up here is much too dangerous to travel. Ned


Pillersdorf Law Offices
124 West Court Street
Prestonsburg, Kentucky 41653

Phone: 606-886-6090
Fax: 606-886-6148


On Mon, Jan 15, 2024 at 1:12 PM Pack, Ashley <ashley.pack@dinsmore.com> wrote:

 I understand that Amy and Bruce’s depositions are cancelled. Is Dillo Neace and Harold Ray White
 confirmed?



 Obviously, we need to confirm for our court reporter. Since these depositions have been previously scheduled,
 and both deponents failed to attend, we will ask for fees and costs if we come and they do not appear.



 Please confirm asap. We will also need to adjust the timing of the depositions due to weather.




 --------- Forwarded message ----------

           From: Ned Pillersdorf <pillersn@gmail.com>
           Date: January 15, 2024 at 11:03:45 AM EST
           Subject: Baker, et al v. Blackhawk, et al
           To: Darrell Herald <dah41339@yahoo.com>,Johnson, Kristeena
           <Kristeena.Johnson@DINSMORE.COM>,Larkin, R. Clay <clay.larkin@dentons.com>




                                                         1
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                                                   1676
      Amy Dryden is being released from the hospital tomorrow. Her and her husband will not be
      able to attend the depositions assuming they will still go with the bad weather which I doubt. -
      Debbie



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      124 West Court Street

      Prestonsburg, Kentucky 41653



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